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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR19
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
LETICIA BARRIENTOS,                               )
                                                  )
                     Defendant.                   )




       This matter is before the court on the motion of Crispin Quintanilla, III, to withdraw
as counsel for the defendant, Leticia Barrientos [50]. Since retained counsel, Denise E.
Frost, has entered an appearance for the defendant [48], the motion to withdraw [50] is
granted. Crispin Quintanilla, III shall be deemed withdrawn as attorney of record and shall
forthwith provide Denise E. Frost with the discovery materials provided the defendant by
the government and such other materials obtained by Mr. Quintanilla which are material
to the defendant’s defense.


       IT IS SO ORDERED.
       DATED this 26th day of April, 2006.


                                                  BY THE COURT:


                                                  s/ F.A. Gossett
                                                  United States Magistrate Judge
